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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                            CASE NO.: 1:22-cv-20375-ALTMAN/REID

  DAVID FEINGOLD and
  MICHAEL DAZZO

         Plaintiffs,

  v.

  RICHARD CARDINALE, VANIA
  CARDINALE, RVCNY, LLC and
  RVCVSI, LLC,

        Defendants.
  ______________________________/

       TITAN COMMUNICATIONS GROUP, LLC’S MOTION TO QUASH AND FOR
        PROTECTIVE ORDER AND INCORPORATED MEMORANDUM OF LAW

         TITAN COMMUNICATIONS GROUP, LLC (“Titan”), by and through its undersigned

  counsel, and pursuant to F.R.C.P. 26 and F.R.C.P. 45, hereby files its Motion to Quash and for a

  Protective Order with respect to the Defendants Richard Cardinale’s, Vania Cardinale’s, RVCNY,

  LLC’s and RVCSI, LLC’s (the “Defendants”) Subpoena, dated November 3, 2022 (the “Second

  Subpoena” annexed hereto as Exhibit “A”), which purports to improperly require a deposition of

  Titan to be held on November 29, 2022 and the production of documents by November 22, 2022,

  and in support thereof, Titan states the following:

                                  PRELIMINARY STATEMENT

         The Second Subpoena at issue (like the first) is in connection with a pending action entitled

  David Feingold and Michael Dazzo v. Richard Cardinale, Vania Cardinale, RVCNY, LLC and

  RVCSI, LLC, U.S.D.C. Southern District of Florida, Case No. 1:22-cv-20375-RKS (the “Action”),
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  wherein the Plaintiffs assert claims against Defendant Richard Cardinale (and others) for various

  misconduct including claims for breach of fiduciary duty, conversion, and fraudulent

  misrepresentation. This is Defendants’ second improper attempt at serving a subpoena on Titan,

  the first of which was quashed by this Court on October 24, 2022, when the Court entered an Order

  granting Titan’s Motion to Quash and for Protective Order [D.E. 64], finding that Defendants’ first

  subpoena was, inter alia, overbroad, unduly burdensome, and irrelevant and that Titan’s status as

  a non-party also militated against requiring disclosure.1 The Court provided Defendants a narrow

  future window for discovery from Titan, stating that any future subpoena “must be narrowly

  tailored to Defendants’ stated defense regarding pass through payments to Titan

  Communications.” Defendants have failed to comply the Court’s directive in this second bite at

  the apple.

         The Court should, at the outset, consider the backdrop attendant to this Second Subpoena.

  Defendants issued a multitude of subpoenas to non-parties before any party discovery had taken

  place. This Court previously quashed two of those subpoenas and there are currently motions to

  quash three additional subpoenas to non-parties in Federal court in South Carolina. The Court

  found good cause to depose Defendants prior to any discovery. Cardinale has attempted to assert

  a Third-Party Complaint against Titan that without legal or factual support claiming Titan should

  pay for Cardinale’s wrongdoing and in disregard of an arbitration provision. Cardinale has not

  squarely disputed Feingold’s assertions of Cardinale’s improper tactics and motivation behind the

  subpoenas. Cardinale is well aware that neither Titan nor Sanders has any knowledge with respect

  to his allegations concerning “administrative expenses” or “pass throughs” as shown by his own



  1
    On November 17, 2022, Titan timely served its written objections to the Second Subpoena and
  its Privilege Log on Defendants. See Objections attached hereto as Exhibit “B.”


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  documents. Defendants have attached to the Second Subpoena the documents they claim to be

  seeking by “composite” exhibits, including the invoices, ACH payments, any purported

  “approvals,” agreements, payments, periodic statements, and bank statements.

         Titan had previously been engaged by Cardinale’s entity, L3 Capital Advisory, LLC, to

  provide financial consulting services. (See Exhibit 6 of Second Subpoena). Later, Cardinale would

  direct Titan to send invoices to L3 Capital Management LLC. Titan’s manager, Todd Sanders

  (“Sanders”), terminated the relationship upon Sanders’ discovery of unethical and potentially

  illegal activity on the part of Cardinale. After terminating his dealings with Cardinale, Sanders

  began working with an investment entity affiliated with Broadstreet, Inc. (“Broadstreet”).

  Plaintiff David Feingold (“Feingold”) is the CEO of Broadstreet and has been since July 2022.

  Feingold is also an attorney and has been for over 30 years. See generally previously submitted

  declarations of Todd Sanders at D.E. 34 and D.E. 50 incorporated herein and annexed hereto as

  Exhibits “C” and “D” respectively.

         The first subpoena and Second Subpoena have been purportedly premised on a sentence in

  Cardinale’s declaration where Cardinale states that, “The Titan Invoices comprise part of the

  administrative expenses at issue in the case billed from L3 Capital Management to Alternative

  Global Management, LLC.” [D.E. 47-1, at 3, ¶11]. Critically, at no time would Defendants claim

  that Titan or Sanders ever had any knowledge of these invoices allegedly being “administrative

  expenses” as between “L3 Capital Management to Alternative Global Management, LLC.”

  Indeed, neither Titan nor Sanders has any knowledge of this purported situation of “administrative

  expenses” as Sanders’ job was to provide financial consulting services to L3. See Declaration of

  Todd Sanders incorporated herein and attached hereto as Exhibit “E”.




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         Cardinale’s counsel would also state that “At least $700,000 of the $1.3 million Plaintiffs

  claim was paid to Cardinale were pass through expenses that were paid to Titan Communications

  for services at Dazzo’s direction and with Feingold’s approval.” [ECF No. 49 at 16]. Critically,

  at no time would Defendants claim that Titan or Sanders ever had any knowledge of any “pass

  through expenses that were paid to Titan Communications for services at Dazzo’s direction and

  with Feingold’s approval.” Yet again, neither Titan nor Sanders has any knowledge of this

  purported situation of “pass throughs” as his job was to provide financial consulting services to

  L3. See Exhibit “E”.

         Thus, the very premise of the Second Subpoena is a total sham. Cardinale is well aware

  that neither Titan nor Sanders has any knowledge of “administrative expenses” or “pass throughs”

  and Defendants have not claimed otherwise. Sanders is merely an innocent bystander once again

  caught in the crossfire of Cardinale’s various attempts to victimize Feingold through his improper

  use of subpoenas and attempt to destroy Feingold’s business. This rouse is a revenge plot put in

  play by Cardinale because Feingold has sued Cardinale and refused to cede to his demands to pay

  him for matters that Cardinale expressly disclaimed entitlement to.

         To cover up this fatal flaw and mask Cardinale’s true harassing intentions, the Second

  Subpoena purports to seek (in Schedule B) documents that Cardinale already has, that Titan now

  “substantiate” its services to L3, provide “proof” Titan received wires from L3, produce the L3

  contract for such services, and produce L3 “approvals.” But Cardinale’s L3 entity (not a party

  here and then a Registered Investment Adviser with independent duties to maintain records) can

  hardly say that it needs anything from Titan or Sanders about those services because the

  attachments to the Second Subpoena show that Cardinale already possess the invoices, ACH




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  payments, any purported “approvals,” agreements, payments, periodic statements, and bank

  statements.

         Indeed, as Sanders states in his previously submitted declaration: “My consulting contract

  was prepared by Mr. Cardinale’s attorneys at his corporate law firm in Manhattan and my invoices

  were provided as requested. There is no issue that I worked with him and quit any affiliation with

  him after I noticed improper attempts at his overbilling his clients and improperly failing to pay

  me in a timely manner. I left Mr. Cardinale and now after not speaking with him for nearly one

  year and going to work at the firm where Mr. Feingold is now CEO, I am subpoenaed to produce

  documents.” [D.E. 50-1, at 2, ¶ 4]. Yet, this is not the end of Defendants’ shenanigans.

         On November 8, 2022, Defendants sought leave to file a Third-Party Complaint against

  Titan for common law indemnification [D.E. 73, 73-1]. In that proposed pleading, Cardinale now

  bizarrely claims that somehow Titan “is the party at fault” and if Cardinale is found responsible

  for “Titan Invoices, totaling $703,250.00” then Titan must indemnify Cardinale (not an L3 entity).

  [D.E. 73, 73-1 at ¶¶ 19 and 22]. Notably, there is no allegation of how Titan could possibly be “at

  fault” and, of course, it could not be at fault for something it was not involved with and had no

  knowledge of.

         The recent Third-Party Complaint and Second Subpoena demonstrate exactly what Titan

  has been saying from the outset. Cardinale is improperly using subpoenas and now a threatened

  and baseless Third-Party Complaint to improperly harass Titan and Sanders. As pointed out in

  Feingold’s declaration previously filed with this Court, Defendants are issuing subpoenas and

  using underhanded tactics towards anyone that does business with Feingold and/or Broadstreet

  and any of Feingold’s business relationships. See Feingold Declaration attached to Sanders’ initial

  declaration at D.E. 34-3 (at 3-6) and annexed hereto as Exhibit “F.” See also D.E.s 30-3, 40 and




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  51-1. Cardinale’s conduct here is similar to the gangster-like tactics that Cardinale seems to

  regularly employ, and is extremely alarming. Defendants’ improper tactics should be rejected and

  the Second Subpoena quashed.

                                    MEMORANDUM OF LAW

         Federal Rule of Civil Procedure 45(d)(1) places a burden on the party issuing a subpoena

  “to take reasonable steps to avoid imposing an undue burden or expense on a person subject to the

  subpoena.” A court may quash a subpoena that subjects the receiving person to undue burden.

  Great Am. Ins. Co. v. Veteran’s Support Org., 166 F. Supp. 3d 1303, 1310 (S.D. Fla. 2015). A

  subpoena that is facially overbroad, as here, imposes an undue burden and should be quashed,

  Great Am. Ins. Co. v. Veteran's Support Org., 166 F. Supp. 3d 1303, 1311 (SD Fla. 2015), and the

  discovery rules do not permit Defendants’ fishing expedition. Porter v. Ray, 461 F.3d 1315, 1324

  (11th Cir. 2006). Defendants did not comply with FRCP 45(d)(1) here and Titan has repeatedly

  been subjected to undue burden.

         Furthermore, “[a]lthough Rule 45 does not identify irrelevance or overbreadth as grounds

  for quashing a subpoena, courts treat the scope of discovery under a subpoena the same as the

  scope of discovery under Rule 26.” Coleman v. Lennar Corp., No. 18-MC-20182, 2018 WL

  3672251, at *3 (S.D. Fla. June 14, 2018). Courts must generally employ a liberal and broad scope

  of discovery, but that scope is not without limits. Id. Rule 26 requires that discovery be

  proportional to the needs of the case. Fed. R. Civ. P. 26(b). In determining proportionality, courts

  consider the importance of the issues at stake, the amount in controversy, the parties’ relative

  access to relevant information, the importance of the discovery in resolving the issues, and whether

  the burden or expense of the proposed discovery outweighs its likely benefit. Id. Here, Titan had




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  no involvement or knowledge of the “administrative expenses” issue or of any purported “pass

  throughs” that were also irrelevant to Titan as a consultant to L3.

         “[T]he burden of proof in demonstrating that compliance with a subpoena presents an

  undue burden lies with the party opposing the subpoena, while the party seeking to enforce a

  subpoena bears the burden of demonstrating that the request is relevant.” Coleman, No. 18-MC-

  20182, at *3. To determine whether a subpoena imposes an undue burden, the Court must balance

  the requesting party’s need for the discovery against the burden imposed upon the subpoenaed

  party. Id. “The objecting party must demonstrate with specificity how the objected-to request is

  unreasonable or otherwise unduly burdensome.” Id. Regarding the undue burden standard, courts

  in this district consider: “(1) [the] relevance of the information requested; (2) the need of the party

  for the documents; (3) the breadth of the document request; (4) the period covered by the request;

  (5) the particularity with which the party describes the requested documents; and (6) the burden

  imposed. Further, if the person to whom the document request is made is a non-party, the court

  may also consider the expense and inconvenience to the non-party. Id. Indeed, the status of a

  person as a non-party is a factor that weighs against disclosure. Schaaf v. SmithKline Beecham

  Corp., No. 3:06-CV-120-J-25TEM, 2006 U.S. Dist. LEXIS 54111, 2006 WL 22416, at *2 (M.D.

  Fla. Aug. 4, 2006). These considerations militate in favor of Titan and quashing the Second

  Subpoena.

         A non-party may also invoke the inherent power of the Court to secure protection from

  discovery which seeks confidential or privileged information, or which would cause undue burden

  on the non-party, as is the case here. Fadalla v. Life Automotive Prods., Inc., 258 F.R.D. 501, 504

  (M.D. Fla. 2011), citing Micro Motion, Inc. v. Kane Steel Co., Inc., 894 F.2d 1318,

  1322 (Fed.Cir.1990). F.R.C.P. Rule 45 provides that, upon a timely motion, the issuing court must




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  quash or modify a subpoena if it requires the disclosure of privileged or other protected matter, if

  no exception or waiver applies, or subjects the party to undue burden. Fed.R.Civ.P.

  45(d)(3)(A). Id. The Second Subpoena also improperly seeks privileged and confidential

  information.

  I.      THE SECOND SUBPOENA SHOULD BE QUASHED BECAUSE IT WAS NOT
          PROPERLY SERVED, PROVIDES INSUFFICIENT TIME AND WAS SENT
          DURING THE DISCOVERY STAY

          Fed. R. Civ. P. 45(b) states that, “Serving a subpoena requires delivering a copy to the

  named person and, if the subpoena requires that person’s attendance, tendering the fees for 1 days’

  attendance and the mileage allowed by law.” A subpoena directed to a corporation must be

  personally served on a corporate officer or other agent authorized under Fed. R. Civ. P. 4 to accept

  service of process. Defendants failed to personally serve the Second Subpoena on Titan’s corporate

  officer, but rather merely provided notice to the undersigned counsel. Titan is a non-party that

  simply was never served, nor has it ever waived service. As such, the Second Subpoena is invalid

  and should be quashed.

          Moreover, the Introductory Statement of the Local Rules provides that “it is a fundamental

  tenet of this Court that attorneys in this District be governed at all times by a spirit of cooperation,

  professionalism, and civility . . . [and] [i]t remains the Court’s expectation that counsel will seek

  to accommodate their fellow practitioners, including in matters of scheduling, whenever

  reasonably possible and that counsel will work to eliminate disputes by reasonable agreement to

  the fullest extent permitted by the bounds of zealous representation and ethical practice.”

  Defendants not only disregarded the service requirements of Fed. R. Civ. P. 45(b), but even

  assuming Defendants’ service is proper upon counsel for Titan, Defendants made no efforts to

  coordinate dates for Titan’s deposition which has been unilaterally set by Defendants for




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  November 29, 2022, in a complete disregard of the Local Rules of this Court. Based upon

  Defendants’ disregard for the Court’s rules and lack of service, the Second Subpoena should be

  quashed.

         In addition, Defendants have again failed to even comply with even the very basic

  requirements of Rule 45. Rule 45(d)(3)(A)(i) requires the court to quash or modify a subpoena

  that fails to allow a reasonable time to comply. A party is normally entitled to 30 days’ notice

  to produce documents. Fed. R. Civ. P. 30(b)(2), 34(b)(2). Titan objects to the Second Subpoena

  as it fails to provide sufficient time for Titan, a one-man show, to gather responsive documents,

  review the documents for privilege, work-product, confidentiality, trade secrets, and relevance as

  required by F.R.C.P. 45(d)(3)(A)(i).

         Here, the Defendants issued the Second Subpoena on November 3, 2022, to the

  undersigned counsel for Titan, without any effort to cooperate regarding the scheduling of Titan’s

  deposition and/or the timing of production of documents. Further, it requests the production of a

  of documents just nineteen (19) days after its issuance, and the deposition of the corporate

  representative of Titan on November 29, 2022, while the case is still in the early stages of discovery

  among the parties. “Rule 45 Subpoenas are not to be used as an “end-run” around the regular

  discovery rules that apply to parties, i.e. notices of deposition in Rule 30, or for production of

  documents in Rule 34.” See, Homes Land Affiliates v. Home Loans Magazine, Case No. 6:07-cv-

  1051-Orl-28DAB (M.D. Fla. Sept. 8, 2008) (seven days notice was not reasonable for documents

  requested to be brought to a corporate representative deposition as required in the Federal Rules).

         Moreover, Defendants’ Second Subpoena to Titan is a blatant disregard of this Court’s

  orders regarding the timing and sequence of discovery. On October 18, 2022, the Court entered

  an Order granting Plaintiffs’ Motion for Order Concerning Timing and Sequence of Discovery




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   Under Fed R. Civ. P. 26(d)(3) [D.E. 60]. Prior to that, the Court stayed discovery [D.E. 40]. Yet

   despite the Court’s stay of discovery, Defendants improperly served the Second Subpoena on

   counsel for Titan on November 3, 2022, prior to Defendants appearing for depositions and during

   the time the discovery stay was in place as ordered by this Court. Defendants’ attempt to serve

   the Second Subpoena during the discovery stay is a clear violation of this Court’s Order. As such,

   the Second Subpoena is invalid, and should be quashed.

   II.    THE SUBPOENA VIOLATES THE COURT’S PRIOR ORDER ON TITAN’S
          MOTION TO QUASH AND PROTECTIVE ORDER

          This is Defendants second attempt at serving a subpoena on Titan. After being served with

   Defendants’ first subpoena, Titan filed a Motion to Quash and for Protective Order [D.E. 34] on

   the basis that Defendants’ first subpoena was, inter alia, overbroad, harassing, unduly burdensome,

   and irrelevant. On October 24, 2022, the Court entered an Order granting Titan’s Motion to Quash

   and for Protective Order [D.E. 64]. The Order agreed with Titan and held that Defendants’

   previous document requests to Titan were overbroad, unduly burdensome, and irrelevant. The

   Court’s order goes on to state that, “it is unclear whether Cardinale possesses this information

   given his active and multiple roles in the L3 entities; the subpoena contains no time limits; and the

   subpoena contains an overly broad request for the disposition of investments made by multiple

   entities. Titan Communications’ status as a non-party also militates against requiring disclosure of

   the documents sought.” See D.E. 64.

          Now, Defendants have issued the Second Subpoena to Titan, which is another clear attempt

   to harass Titan as expected and evidenced by Titan’s previously filed Motion to Quash [D.E. 34

   and D.E. 50].




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          The Court provided Defendants a narrow future window for Titan, stating that any future

   subpoena “must be narrowly tailored to Defendants’ stated defense regarding pass through

   payments to Titan Communications.” Defendants have failed to comply the Court’s directive.

          As described, the very premise of the first and Second Subpoena is a total sham. Cardinale

   is well aware that neither Titan nor Sanders has any knowledge purported “pass throughs.” In fact,

   there is not a single document request that uses those words. Instead, the Second Subpoena

   purports to seek (in Schedule B) documents that Cardinale already has as the attachments to the

   Second Subpoena show that Cardinale already possess the invoices, ACH payments, any purported

   “approvals,” agreements, payments, periodic statements and bank statements.

          The context of this Second Subpoena cannot be emphasized enough. First, Defendants

   issued a multitude of subpoenas to non-parties before any party discovery had taken place. Second,

   this Court previously quashed two of those subpoenas and there are currently motions to quash

   three additional subpoenas to non-parties in Federal court in South Carolina. Third, the Court

   found good cause to depose Defendants prior to any discovery. Fourth, Cardinale has not squarely

   disputed Feingold’s assertions of Cardinale’s improper tactics and motivation behind the Second

   Subpoena. Fifth, Cardinale is well aware that neither Titan nor Sanders has any knowledge with

   respect to his allegations concerning “administrative expenses” or “pass throughs.” Sixth,

   Defendants have attached to the Second Subpoenas the documents they claim to be seeking by

   “composite” exhibits, including the invoices, ACH payments, any purported “approvals,”

   agreements, payments, periodic statements and bank statements.

          A few examples bear out Titan’s assertions. Thus, Schedule B Request 3 of the Second

   Subpoena seeks proof that Titan actually received wire transfers sent by L3. Of course, L3 would

   know whether Titan received those wire transfers by reviewing its own statements. Request 4




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   seeks production of contracts and agreements “for such services” while simultaneously producing

   the various L3 agreements it claims “for such services.” Requests 5 and 6 seek “approvals” for

   invoices to L3, payments made by L3 and services that L3 itself contracted for. Request 7 refers

   to “Exemplar Titan Approvals” apparently texted by Cardinale but not to Titan and that do not

   appear to relate to the L3 Capital Income Fund. Requests 8 through 14 are equally deficient and

   vague as they purport to seek every piece of paper to “Substantiate” services for L3 and payments

   by L3 by review of L3’s records attached to the Second Subpoena. Significantly, Defendants

   purportedly seek substantiation of records Cardinale/L3 itself produces while there is not a single

   mention or request for purported “pass throughs.”

          Under the circumstances, although Defendants package and adorn this Second Subpoena

   differently, it remains facially overbroad, vague, unduly burdensome, and irrelevant to this Action.

   The Second Subpoena should once again be quashed as it is not narrowly tailored to Defendants’

   stated purpose regarding “pass through payments” as required by the Court’s Order granting

   Titan’s Motion to Quash and for Protective Order [D.E. 64].

   III.   THE SECOND SUBPOENA BREACHES THE ARBITRATION PROVISION
          INCLUDED IN THE AGREEMENT BETWEEN TITAN AND L3 CAPITAL
          ADVISORS, LLC

          Defendants’ harassment of Titan and Sanders is perhaps best demonstrated by their recent

   attempts to assert a Third-Party Complaint against Titan. In that proposed pleading, Cardinale

   claims that if he is found to be liable to Plaintiffs for “the $703,250 that Titan charged” “any

   damages suffered by Feingold and Dazzo are, at least partly, attributable to the actions of Titan,

   not Cardinale.” [D.E. 73-1 at 3, ¶4]. Putting aside the absurdity and lack of any supporting

   allegations, the claim for common law indemnity fails as a matter of law because if it is only

   “partly” attributable to Titan no claim exists. Am. Home Assurance Co. v. Weaver Aggregate




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   Transp., Inc., 990 F. Supp. 2d 1254, 1270 (M.D. Fla. 2013)(If both parties are at fault, no matter

   how slight the fault of the party seeking indemnity, recovery for common law indemnity is

   precluded.); XPO Logistics, Inc. v. Malcomb, 2021 NY Slip Op 303529U), *7 (Sup Ct NY County

   2021)(“With respect to the proposed common law indemnity claims, it is well established that

   "since the predicate of [such claims] is vicariously liability without actual fault on the part of the

   proposed indemnitee, it follows that the party who has itself participated to some degree in the

   wrongdoing cannot receive the benefit of the doctrine" (Trustee of Columbia Univ. v

   Mitchell/Giurgolas Assoc, 109 A.D.2d 449, 453, 492 N.Y.S.2d 371 [1985]).”). The lack of any

   supporting allegations as to Titan’s purported fault and lack of any claim further demonstrates

   Defendants’ continuing harassment of Titan.

          Worse yet, Cardinale well knows that any dispute with Titan is subject to binding

   arbitration before JAMS. L3 Capital Advisors, LLC, a company controlled and managed by

   Cardinale, previously entered into an agreement with Titan for Titan to provide certain consulting

   services to L3 Capital Advisors. The Agreement, which Defendants attach as Exhibit 6 to the

   Subpoena, between L3 Capital Advisors, LLC and Titan is dated December 9, 2019 (the

   “Agreement”). See Exhibit “A” at Exhibit 6. Pursuant to paragraph 14.1 of the Agreement, any

   dispute, controversy, or claim arising out of or related to the Agreement, including, but not limited

   to, the services Titan agreed to provide pursuant to the Agreement, must be submitted to and

   decided by binding arbitration.

          Since L3 Capital Advisors, LLC was the manager of the L3 Capital Income Fund, LLC,

   controlled and managed by Cardinale as the managing member, the arbitration provision in the

   Agreement must be enforced against on the basis that the entities involved are controlled by the

   same parties. See Marcus v. Fla. Bagels, LLC, 112 So. 3d 631, 633-34 (Fla. Dist. Ct. App.




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   2013)(fairness dictates that the party "cannot have it both ways" by relying on the arbitration clause

   when it works to its advantage and repudiating it when it works to its disadvantage); 332 E. 66th

   St., Inc. v. Walker, 59 Misc. 3d 1216(A), 2018 NY Slip Op 50584(U), *5 (Sup Ct. NY County

   2018).

            Defendants’ Second Subpoena, combined with the Third-Party Complaint, is a brazen

   attempt to circumvent the arbitration provision in the Agreement. As such, the Second Subpoena

   should be quashed as any controversy between Titan and L3 Capital Advisors and the Defendants

   must be submitted to arbitration.

   IV.      THE DOCUMENTS REQUESTED BY THE SECOND SUBPOENA CONTAIN
            CONFIDENTIAL INFORMATION PROTECTED BY ATTORNEY-CLIENT
            PRIVILEGE AND WORK-PRODUCT PRIVILEGE
            The Second Subpoena improperly seeks materials covered by the attorney-client privilege

   and/or attorney work product by virtue of Feingold’s legal advice and counsel provided to Titan

   and Sanders, and further by the virtue of the existence of non-disclosure agreements entered into

   by Titan and/or Sanders that preclude Titan from disclosing documents requested by Defendants’

   Second Subpoena.

            Titan served its Privilege Log on Defendants on November 17, 2022. See Exhibit “B”.

   The following documents requested by Defendants’ Second Subpoena are covered by the attorney-

   client privilege and attorney work product, and therefore are protected from disclosure: (1) Any

   and all communications between Titan, its officers, directors, owners, employees, agents, and/or

   representatives and Plaintiff, David Feingold; (2) Any and all communications between Todd

   Sanders and David Feingold; (3) Any and all communications, documents and/or confidential

   information between Titan, its officers, directors, owners, employees, agents, and/or

   representatives and Broadstreet, Inc.; (4) Any and all communications, documents and/or

   confidential information between Todd Sanders and Broadstreet, Inc.; (5) Any and all


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   communications and documents that are subject to non-disclosure agreements entered into by

   Titan and/or Todd Sanders; and (6) Any and all communications and documents prepared by Titan,

   its officers, directors, owners, employees, agents, attorneys, consultants, and/or representatives in

   anticipation of litigation.

           "The attorney-client privilege exists to protect confidential communications between client

   and lawyer made for the purpose of securing legal advice. . . ." In re Grand Jury Subpoena of

   Slaughter, 694 F.2d 1258, 1260 (11th Cir. 1982). Here, Feingold, a licensed attorney, has, and

   continues to provide legal counsel to Titan/Sanders and the scope of the Second Subpoena,

   including that Titan produce communications that it had with Feingold in relation to various

   matters set forth in the Second Subpoena must be quashed by the Court to avoid divulgence of

   privileged communications between attorney and client.

           The Second Subpoena also seeks documents and information that clearly fall into the

   purview of attorney’s work product which requires shielding from production on this basis. Thus,

   Federal Rule of Civil Procedure 45 provides that a subpoena must be modified or quashed if it

   "requires disclosure of privileged or other protected matter" or "subjects a person to [an] undue

   burden." Fed. R. Civ. P. 45(c)(3).

           Moreover, there can been no showing by Defendants of a substantial need, undue hardship,

   and inability to obtain the information from another source. Federal Rules of Civil Procedure Rule

   26(b)(1) provides: Unless otherwise limited by court order, the scope of discovery is as follows:

   Parties may obtain discovery regarding any non-privileged matter that is relevant to any party's

   claim or defense - including the existence, description, nature, custody, condition, and location of

   any documents or other tangible things and the identity and location of persons who know of any

   discoverable matter.




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           Attorney work product is privileged and non-discoverable. Federal Rules of Civil

   Procedure, Rule 26(b)(3)(A) provides that: Ordinarily, a party may not discover documents and

   tangible things that are prepared in anticipation of litigation or for trial by or for another party or

   its representative (including the other party's attorney, consultant, surety, indemnitor, insurer, or

   agent). But, subject to Rule 26(b)(4), those materials may be discovered if: (i) they are otherwise

   discoverable under Rule 26(b)(1); and (ii) the party shows that it has substantial need for the

   materials to prepare its case and cannot, without undue hardship, obtain their substantial equivalent

   by other means. Defendants cannot make this showing here. See, Chen-Nuclear Systems, Inc. v.

   Arivec Chemicals, Inc., 978 F. Supp. 1105, 1107, (N.D. Ga. 1997) (If documents are relevant and

   prepared in anticipation of litigation by that other party's representative the material is discoverable

   only if the party seeking discovery has a substantial need for the materials is unable to obtain the

   substantial   equivalent    by    other   means).      Federal   Rules   of    Civil   Procedure Rule

   45(d)(3)(A)(iii) provides that on timely motion, the court for the district where compliance is

   required must quash or modify a subpoena that requires disclosure of privileged or other protected

   matter, if no exception or waiver applies (and none applies).

           Here, the scope of the Second Subpoena is itself is calculated to sweep in materials which

   are privileged, without any exception or waiver. These materials are plainly protected from

   disclosure and not discoverable. The Second Subpoena should therefore be quashed to the extent

   it seeks privileged materials.

   V.      THE SECOND SUBPOENA SHOULD BE QUASHED BECAUSE THE
           DOCUMENT REQUESTS ARE OVERLY BROAD, UNDULY BURDENSOME,
           VAGUE AND OPPRESSIVE AND SEEK IRRELEVANT INFORMATION

           The Second Subpoena should also be quashed because it is vague, overly broad, unduly

   burdensome and seeks irrelevant information. A protective order can issue “to protect a party or




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   person from annoyance, embarrassment, oppression, or undue burden or expense.” Fed. R. Civ. P.

   26(c). If the moving party shows good cause, as here, the Court may impose specified terms and

   conditions on how discovery is conducted. Id. In determining whether good cause exists, a Court

   should balance a party’s interest in obtaining the discovery against the opposing party’s interest in

   protecting the information. Chicago Tribune Co. v. Bridgestone/Firestone, 263 F.3d 1304 (11th

   Cir. 2001). The Court enjoys broad discretion in entering a protective order. In re Alexander Grant

   & Co. Litig., 820 F.2d 352 (11th Cir. 1987). As demonstrated, the requests are overbroad, unduly

   burdensome, oppressive and irrelevant, particularly as the records are sought from a non-party to

   the Action without knowledge of matters possessed by Defendants prior to the parties to the case

   engaging in discovery amongst themselves. Accordingly, for these reasons, Titan interests should

   be protected and the Second Subpoena should be quashed.

   VI.     DEFENDANTS’ SECOND SUBPOENA WAS ISSUED SOLELY FOR THE
           PURPOSES OF HARASSMENT

           Defendants’ first subpoena to Titan was quashed, and now Defendants seek to add Titan

   as a party while simultaneously issuing Titan the Second Subpoena as a non-party. Defendants

   make a mockery of discovery by attempting to get information by treating Titan as a party on the

   one hand, and a non-party on the other hand, and while there is an arbitration provision requiring

   arbitration.

           As discussed by in the multiple declarations of Titan and Feingold, Cardinale clearly

   threatened to harass persons affiliated with Feingold, including but not limited to Sanders, the

   Manager of Titan. Despite filing opposition to Titan’s initial Motion to Quash with his own

   declaration, Cardinale never disputed his threats to harass those affiliated with the Plaintiffs.

   Defendants’ Second Subpoena to Titan is yet another attempt to harass Sanders and Titan due to

   their affiliation with Feingold.



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   VII.   THE SECOND SUBPOENA SHOULD BE QUASHED BECAUSE IT SEEKS
          DOCUMENTS THAT CONTAIN CONFIDENTIAL BUSINESS AND
          COMMERCIAL INFORMATION AND TRADE SECRETS THAT SHOULD BE
          PROTECTED AND SHIELDED FROM DISCOVERY

          Compliance with the Second Subpoena by Titan would also cause it to divulge trade secrets

   and other confidential research, development, or commercial information to an avowed competitor

   and subject it to undue burden and expense. Such documents should not have to be produced by

   a non-party particularly under these circumstances. See F.R.C.P. 26(b)(5) and 45(d).

          Pursuant to F.R.C.P. 45(d)(3)(B)(i), the Court should quash or modify the Second

   Subpoena that requires the disclosure of a trade secret or other confidential research, development

   or commercial information. In the present case, Defendants have issued a Second Subpoena to

   Titan which is specifically geared to the disclosure of protected material including, but not limited

   to, trade secrets and confidential commercial business information which are indirectly sought by

   the Second Subpoena’s overreaching broadness.

          Furthermore, by way of the Second Subpoena, Cardinale, a direct business competitor of

   Broadstreet (who employs Sanders), is attempting obtain testimony, documents and information

   from Titan, Sanders (and indirectly from Feingold) which are protected trade secrets or

   confidential business information, and would potentially require the disclosure of confidential and

   protected client lists, investor lists, payment information and other such information by which

   Cardinale is seeking to gain an unfair advantage in an effort to compete with and disparage

   Feingold’s various business endeavors, including Broadstreet (a non-party). See Feingold

   Declaration attached to Sanders’ initial declaration at D.E. 34-3 (at 3-6) and annexed hereto as

   Exhibit “F”. See also D.E. 30-3, 40 and D.E. 51-1. A district court may quash a subpoena that

   requires "disclosing a trade secret or other confidential research, development, or commercial




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   information." Fed. R. Civ. P. 45(d)(3)(B)(i). Jordan v. Com’r, Mississippi Dept. Of Corrections,

   947 F. 3d 1322 (11th Cir. 2020).

          Titan has a significant interest in protecting its proprietary and confidential trade secrets,

   business dealings, financial records, accounting records and should not be required to produce

   them as a non-party to the Action simply because the Defendants requested the records with no

   showing whatsoever.

      VIII. CONCLUSION AND REQUEST FOR RELIEF

          For the reasons set forth herein, this Court should quash the Second Subpoena served on

   Titan, and enter a protective order to protect privileged and confidential materials, and preventing

   the deposition of Titan’s corporate representative, and production of the requested documents.

   Dated: November 28, 2022                              Respectfully Submitted,

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                                   CERTIFICATE OF SERVICE

          WE HEREBY CERTIFY that a copy of the foregoing was filed on this 28th day of November,

   2022, via the CM/ECF Federal Court Filing System, and served upon all counsel of record.

                                                     By:    /s/ Robert C. Streit
                                                            Robert C. Streit, Esq.
                                                            Fla. Bar No.: 70780




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